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CUR/LEP/CAH: USAO2018R00282 a
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PH
IN THE nti S DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

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UNITED STATES OF AMERICA ys eetyt
oY. A, CRIMINAL NO. U0 $-ionaa
Vv. *
* (Retaliating Against a Witness, 18 U.S.C.
DONTRAY JOHNSON, * § 1513(b)(1) )
a/k/a Gambino, *
a/k/a Bino *
*
Defendant RRR ERE
INDICTMENT

The Grand Jury for the District of Maryland charges that:
On or about March 8, 2018, at the Chesapeake Detention Facility, Baltimore City, in the
District of Maryland, the defendant,

DONTRAY JOHNSON,
a/k/a Gambino,
a/k/a Bina

knowingly engaged in conduct causing bodily injury to another person, with the intent to
retaliate against that person for their attendance as a witness and testimony given in an official

proceeding to wit: United States v. Corey Hammond, Case # CCB-16-0562.

18 U.S.C. § 1513(b)(1) Rating HH

 

 

Robert K. Hur
United States Attorney
A TRUE BILL:
SIGNATURE REDACTED 7
Foreperson “ .

Lhtwsag Ub 2.0/9

Date

 
